                Case 2:06-bk-12303-EC       Doc 4 Filed 05/31/06 Entered 05/31/06 14:39:48   Desc
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                     5
                                               UNITED STATES BANKRUPTCY COURT
                     6
                                 CENTRAL DISTRICT OF CALIFORNIA – Los Angeles DIVISION
                     7
                         In re:                                )   Case No.:
                     8   Franklin, Gary L                      )   Chapter 7
                                                               )
                     9                            Debtor(s)    )
                                                               )   DEBT REPAYMENT PLAN (11
                 10                                            )   U.S.C.SECTION 521(b)(2);
                                                               )   F.R.B.P. 1007(b)(3)
                 11                                            )
                                                               )
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                 13      STATE OF CALIFORNIA, COUNTY OF LOS ANGELES.

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                 15      NONE PREPARED FOR THIS CASE
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                 17      Executed at Los Angeles, California on 05/31/2006

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